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                                   EXHIBIT C
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                         UNITED STATES DISTRICT COURT                                              Nov 72007
                       FOR THE DISTRICT OF MASSACHUSETTS                                            3:48PM




IN RE PHARMACEUTICAL INDUSTRY                   )   MDL No. 1456
AVERAGE WHOLESALE PRICE                         )   Master File No. 0 1-CV-12257-PBS
LITIGATION
                                                )   Judge Patti B. Saris

THIS DOCUMENT RELATES TO:
United States of America ex reI Yen-A-Care of )
the Florida Keys, Inc., et a1 v. Boehringer     )
Ingelheim Corporation, et a/., Civil Action No. )
07-10248-PBS


                  ROXANE DEFENDANTS' FIRST SET OF REQUESTS
                       FOR PRODUCTION OF DOCUMENTS
                     AND TANGIBLE THINGS TO PLAINTIFFS


       Defendants Boehringer Ingelheim Corp., Boehringer Ingelheim Pharmaceuticals, Inc.,

Boehringer Ingelheim Roxane, Inc., and Roxane Laboratories, Inc. (collectively, the "Roxane

Defendants"), pursuant to Rule 34 of the Federal Rules of Civil Procedure and the Local Rules,

request that Plaintiff the United States of America and Relator Ven-A-Care of the Florida Keys,

Inc. (collectively, "Plaintiffs") produce the documents requested herein by malting them

available for inspection and copying at the offices of Kirldand & Ellis LLP, 200 East Randolph

Drive, Chicago, Illinois, 60601, or at such other place and in such manner as may be mutually

agreed upon between counsel for the parties, within thirty (30) days from the date of service of

these Requests.
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                                         DEFINITIONS

       The Roxane Defendants hereby incorporate the definitions provided in Local Rule

26.5(c). The following terms used in these requests, whether or not capitalized, shall have the

following meanings:

       1.     "AMP" or "Average Manufacturer Price" shall have the meaning set forth in
42 U.S.C. 6 1396r-8(k)(1).

        2.     "AWP" or "Average Wholesale Price" shall have the meaning ascribed to those
terms in paragraphs 5 1 and 57 of the Complaint.

        3.   "Between," when used in regard to the transmittal of information, shall mean any
communication by, to, from, or among any individual(s) or entity(ies) specified in a particular
request.

        4.     "CHAMPUS" means Civilian Health and Medical Program of the Uniformed
Services and all branches, agencies, committees, or departments, including the administrators,
staff, employees, agents, consultants, accountants, or attorneys of any of the foregoing.

        5.     "CMS" means "Centers for Medicare and Medicaid Services," its predecessor
agencies and all branches, regional offices, agencies, committees, or departments, including the
administrators, staff, employees, agents, includng but not limited to carriers, consultants,
accountants, or attorneys of any of the foregoing. "CMS" and "HCFA" refer to the same agency
and are used interchangeably throughout these Requests.

       6.      "Complaint" means and refers to the Complaint filed on or around January 18,
2007 by which the United States of America intervened in certain portions in Case No. OO-CV-
10698 (severed to a new case number, 07-10248-PBS), pending in the United States District
Court for the District of Massachusetts.

        7.      "Congress" means the legislative branch of the U.S. Government, individual
members of Congress, and any congressional committees or subcommittees, including but not
limited to the Congressional Budget Office, Senate Finance Committee, the House Committee on
Ways and Means, the House Committee on Energy and Commerce, the Subcommittee on
Oversight and Investigations of the House Committee on Energy and Commerce, and all other
branches, agencies, committees, or departments, including the administrators, staff, employees,
agents, consultants, accountants, or attorneys of any of the foregoing.

      8.       "Customers" has the meaning ascribed to that term in paragraph 3 of the
Complaint.

       9.      "Defendants" refers to the Roxane Defendants.
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        10.    "DMERC" or "Durable Medical Equipment Regional Carrier" mean and refer to
any insurance company or other entity that has contracted with HCFA or CMS to process
Medicare Part B claims submitted by any Provider for durable medical equipment or any dmgs
administered via durable medcal equipment, including its administrators, staff, employees,
agents, consultants, accountants, or attorneys.

       11.     "DOJ" means the United States Department of Justice and all branches, agencies,
committees, or departments, including the administrators, staff, employees, agents, consultants,
accountants, or attorneys of any of the foregoing.

      12.    "Equivalent Drugs" means those drugs that contain the same active chemical
compound or are considered to be therapeutically equivalent to the Subject Drugs.

      13.     "FSS" means and refers to the "Federal Supply Schedule" and shall have the
meaning ascribed to that program pursuant to 41 U.S.C. 5 259(b)(3)(A).

      14.    "FUL" means the Federal Upper Limit, the ceiling established by the U.S.
Government for reimbursement of certain drugs dispensed to Medicaid beneficiaries. See 42
CFR 5 447.332.

        15.    "GAO" means General Accounting Office and all its employees, agents,
attorneys, agencies, committees, or affiliates.

        16.    "HCFA" means the United States Health Care Financing Association, its
predecessor and successor agencies and all branches, agencies, committees, or departments,
including the administrators, staff, employees, agents, consultants, accountants, or attorneys of
any of the foregoing. "CMS" and "HCFA" refer to the same agency and are used
interchangeably throughout these Requests.

         17.   "HHS" means the United States Department of Health and Human Services and
all its employees, agents, attorneys, agencies, committees, or affiliates.

      18.     "HHS-OIG" means the Office of Inspector General for HHS and all its
employees, agents, attorneys, agencies, committees, or affiliates.

       19.     "Manufacturer" shall have the meaning set forth in 42 U.S.C. 5 1396r-8.

        20.    "Medicaid" means and refers to the jointly-funded Federal-State health insurance
program enacted in 1965 as an amendment to the Social Security Act to pay for the costs of
certain medical services.

        21.     "Medicaid Intermediary" means and refers to any insurance company or other
entity that has contracted with any State Medicaid Program to process claims for reimbursement
of dmgs, develop preferred dmg lists, provide guidance on changes to reimbursement
methodologies, or provide advice on cost savings, including its administrators, staff, employees,
agents, consultants, accountants, or attorneys.
      Case 1:01-cv-12257-PBS Document 6594-8 Filed 10/16/09 Page 5 of 20




       22.    "Medicaid Drug Rebate Program" means and refers to the program established by
the Omnibus Budget Reconciliation Act of 1990, 42 U.S.C. 6 1396r-8, as amended by the
Veterans Health Act of 1992, whereby drug manufacturers have national drug rebate agreements
with HHS and a pricing agreement with HHS for the Public Health Service Section 340B Drug
Pricing Program.

       23.    "Medicare" means and refers to the Federal program enacted in 1965 under Title
XVIII of the Social Security Act to pay for the costs of certain medcal services.

       24.      "Medicare Carrier" means and refers to any insurance company or other entity,
including its administrators, staff, employees, agents, consultants, accountants, or attorneys, that
has contracted with HCFA or CMS to process claims submitted under Part B of the Medicare
program by any Provider.

       25.      "MFCU" means and refers to individual state Medicaid Fraud Control Units,
including their administrators, staff, employees, agents, consultants, accountants, or attorneys.

       26.     "MedPac" means Medicare Payment Advisory Commission and all branches,
agencies, committees, or departments, including the administrators, staff, employees, agents,
consultants, accountants, or attorneys of any of the foregoing.

        27.    "NAMFCU" means National Association of Medicaid Fraud Control Units and all
branches, agencies, committees, or departments, including the administrators, staff, employees,
agents, consultants, accountants, or attorneys of any of the foregoing.

       28.     "NDC" means "National Drug Code," the code set maintained by the Food and
Drug Administration and adopted by the federal Secretary of Health and Human Services as the
standard for reporting drugs and biologicals on standard transactions.

        29.    "New Yorlt Counties FUL Drugs" refers to the following drugs: enalapril maleate
(20 mg tablet), lorazepam (1 mg tablet), ltlonopin (0.5 mg tablet), albuterol(90 mcg inhaler and
0.83 mglml solution), metropolol (100 mg tablet), cefadroxil (500 mg tablets and capsulate),
ranitidine (150 mg tablet), and isosorbide mononitrate (60 mg tablet).

       30.     "OMB" means the Office of Management and Budget and all branches, agencies,
committees, or departments, including the administrators, staff, employees, agents, consultants,
accountants, or attorneys of any of the foregoing.

       3 1.     "OPA" means the Office of Pharmacy Affairs, the previous name of the PAB,
including its administrators, staff, employees, agents, consultants, accountants, or attorneys.

       32.     "PAB" means the Pharmacy Affairs Branch, which administers the Public Health
Service 340B Drug Discount Program, includng its administrators, staff, employees, agents,
consultants, accountants, or attorneys.

       33.     "Plaintiffs" refers to the United States of America and Ven-A-Care.
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        34.     "Provider" or "Providers" means and refers to any and all persons or entities that
render health care services, includng but not limited to pharmacists, physicians, nurses, nurse
practitioners, physicians' assistants, specialty pharmacies, nursing home personnel, laboratory
technicians, x-ray and other medical equipment technicians, and other hospital or physician
office personnel.

       35.     "PSSC" means Pharmacy Services Support Center, which provides assistance to
the PAB in administering the Public Health Service 340B Drug Discount Program, including its
administrators, staff, employees, agents, consultants, accountants, or attorneys.

        36.    "Relating" or "relate to" means refer to, regard, concern, describe, explain, state,
evidence, record, constitute, pertain to, reflect, comprise, contain, embody, mention, show,
support, contradict, and discuss, whether directly or indirectly, as required by the context to bring
within the scope of the requests in this request for production of documents any documents that
might be deemed outside their scope by another construction.

       37.     "Relator" refers to Ven-A-Care.

        38.   "Relevant Claim Period shall refer to the entire period for which Plaintiffs are
seelcing damages or penalties. See paragraph 58 of the Complaint.

        39.     "Roxane" means Boehringer Ingelheim Roxane, Inc. and Roxane Laboratories,
Inc., named as defendants in the present matter, and any of their past or present officials,
officers, representatives, agents, assigns, attorneys, employees, divisions, or departments, and all
other persons or entities acting or purporting to act on their behalf or under their control.

        40.    "Roxane Defendants" means, collectively, Boehringer Ingelheim Corp.,
Boehringer Ingelheim Pharmaceuticals, Inc., Boehringer Ingelheim Roxane, Inc., and Roxane
Laboratories, Inc., named as defendants in the present matter, and any of their past or present
officials, officers, representatives, agents, assigns, attorneys, employees, divisions, or
departments, and all other persons or entities acting or purporting to act on their behalf or under
their control.

        4 1.   "State Medicaid Program" means the state agency responsible for carrying out the
Medicaid Program in any particular state and all branches, agencies, committees, or departments,
including the administrators, staff, employees, agents, consultants, accountants, or attorneys of
any of the foregoing.

       42.    "Subject Drugs" means and refers to those h g s and NDCs listed in Exhibits A
and B of the Complaint.

       43.     "U.S. Government" means and refers to the all legislative and executive branches,
agencies, departments, or committees of the United States Government, including the
administrators, staff, employees, agents, consultants, accountants, or attorneys of any of the
foregoing. U.S. Government includes but is not limited to CMSIHCFA, Congress, Department of
Commerce, Department of Defense, DOJ, HHS, HHS-OIG, GAO, MedPac, OMB, OPAIPAB,
PSSC, VA and any other agency, department, or committee of the U.S. Government that Plaintiff
lu-~owsor believes has materials discoverable in this litigation.
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       44.     "VA" means the United States Department of Veterans Affairs, including its
administrators, staff, employees, agents, consultants, accountants, or attorneys.

        45.    "Ven-A-Care" means Ven-A-Care of the Florida Keys, Inc., a corporation
organized under the laws of Florida, and all predecessor or successor corporations, and any of its
past or present officials, officers, representatives, agents, assigns, attorneys, employees,
divisions, departments, agencies, affiliates, subsidiaries, and all other persons or entities acting or
purporting to act on its behalf or under its control.

       46.    "Ven-A-Care Qui Tam Complaint" refers to the Complaint filed under seal in the
United States District Court for the District of Massachusetts, Case No. 00-CV-10698, including
all amendments.

        47.    "WAC" or "Wholesale Acquisition Cost" shall have the meaning ascribed to that
term in paragraph 5 1 of the Complaint.

       48.    "You" and "Your" means and refers to the United States of America or Ven-A-
Care, where appropriate.

       49.    "340B Provider" means and refers to any provider described in Section 340B of
the Public Health Act, 42 U.S.C. 6 256b.

        50.    The terms "and" and "or" shall mean "andlor."

        5 1.   Any word written in the singular shall include the plural and vice versa.

        52.    In case of doubt as to the scope of a clause including "and," "or," "any," "all,"
"each," and "every," the intended meaning is inclusive rather than exclusive.



                                         INSTRUCTIONS

        1.     All requests directed to Plaintiff United States of America are not limited to
documents in the possession of the United States Department of Health and Human Services
("HHS") or the central and regional offices of the Centers for Medicare & Medicaid Services
("CMS"), but include all responsive documents in the possession of the U.S. Government's
executive, administrative, and legislative offices and agencies, including but not limited to those
agencies and departments specified in the above definition of "U.S. Government," as well as all
DMERCs, Medicare Carriers, and Medicaid Intermediaries, who served as agents of the U.S.
Government throughout times relevant to the Complaint. In addition to these agencies,
departments, and entities, Plaintiff is requested to search for and produce responsive documents
from all other agencies or departments of the U.S. Government that Plaintiff has reason to
believe may have documents responsive to these requests. In light of the short time available for
fact discovery, Plaintiff is requested to inform counsel for Roxane immediately if it is unwilling
to coordinate the search for and production of responsive documents to all such agencies,
departments, or entities ( i . e . , please do not wait until the deadline for respondng to these
requests).
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        2.      Time Frame. Unless otherwise specified, these requests seek Documents that
were prepared during, or relate to, the Relevant Claim Period or that correspond to the events,
reports, laws, determinations, or documents referred to in particular requests.

        3.     When an objection is made to any request or any subpart thereof, state with
specificity the part or subpart of the document request considered to be objectionable and all
grounds for the objection.

       4.     Each request for documents seelts production of the document in its entirety,
without abbreviation or redaction, including all attachments or other matters affixed thereto.

        5.     With respect to each document that is withheld from production on the basis of
any privilege, or any portion of any document that has been redacted on the basis of any
privilege in connection with the production of a document, provide a statement setting forth:

                      its date;
                      its title;
                      its author;
                      its addressee;
                      the identify of each person who received andlor saw the original or any
                      copy of such document
                      the specific privilege under which it is withheld;
                      its general subject matter;
                      its present custodian; and
                      description of it that you contend is adequate to support your contention
                      that it is privileged.

        6.      With respect to any conversation for which a privilege is being asserted, identify
by stating the following:

               (a)    when and where the conversation occurred;
               (b)    the name, title and job or position of each person who was present at or
                      during the conversation whether or not such conversation was in person or
                      by telephone;
               (c)    a brief description of the conversation's subject matter;
               (d)    the statute, rule or decision that is claimed to give rise to the privilege; and
               (e)    the name, title and job or position of all persons on whose behalf the
                      privilege is asserted.

         7.     All documents are to be produced as they are ltept in the usual course of business,
their relative order in such files, and how such files were maintained. In accordance with the case
management order in this case, all electronic files should be produced in a format to be agreed
upon by the parties.
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  DOCUMENTS REQUESTED FROM PLAINTIFF UNITED STATES OF AMERICA

         1.  All documents received by the U.S. Government pursuant to subpoenas or
informal document requests related to any of the Subject Drugs or any of the claims in this
litigation.

        2.      All Documents responsive to any Requests for Production of Documents served
by Defendant Abbott Laboratories, Inc. or Defendant Dey, Inc. on the U.S. Government in the
matters of United States of America ex rel. Ven-A-Care of the Florida Keys, Inc. v. Abbott
Labomtories, Inc., formerly Civil Action No. 06-CV-21303-ASG (S.D. Fla.), presently part of
MDL No. 1456, Civil Action No. 06-11337-PBS (the "DOJ-Abbott Litigation"), and United
States ex rel. Yen-A-Care of the Florida Keys, Inc. v. Dey, Inc. et ul., also presently part of MDL
No. 1456, Civil Acton No. 05- 1 1084-PBS (the "DOJ-Dey Litigation").

        3.    Complete claims data, including any annual, quarterly, or other periodic
summaries relating to the claims data, for all the Subject Dmgs during the Relevant Claim Period
for every Medicare and Medicaid transaction for which the Plaintiffs seek recovery. This data
shall be submitted in electronic form in a format to be agreed upon by the parties pursuant to the
case management order in this case.

    4.     For all periods within the Relevant Claim Period, all documents relating to how
DMERCs or Medicare Carriers determined the payment amount for the Subject Drugs.

        5.      For each quarter during the Relevant Claim Period, all documents relating to the
calculation of each FUL applicable to the Subject Drugs, the Equivalent Drugs, or the New Yorlc
Counties FUL Drugs, including, but not limited to, documents sufficient to show how DMERCs,
Medicare Carriers, or Medicaid Intermedaries calculated any FUL applicable to the Subject
Drugs, the Equivalent Drugs, or the New Yorlc Counties FUL Drugs.

       6.      All documents relating to the determination of whether or not to set a FUL for any
of the Subject Drugs, the Equivalent Drugs, or the New Yorlc Counties FUL Drugs during the
Relevant Claim Period.

       7.      All documents showing the FUL schedules relating to the Relevant Claim Period.

        8.    All documents relating to any State Medcaid Program's failure to use FUL as a
basis of payment for the Subject Drugs, the Equivalent Drugs, or the New Yorlc Counties FUL
Drugs when a FUL had been established for these drugs.

        9.     All documents relating to communications between CMS and any state or other
entity concerning the FUL applicable to the Subject Drugs, the Equivalent Drugs, or the New
York Counties FUL Dmgs.
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         10.     From January 1, 1965 to the end of the Relevant Claim Period, all Documents
relating to any report, memorandum, audit, study, analysis, or survey (whether implemented,
started, completed or not) concerning (i) the methodologies, policies, and procedures to be used
in determining reimbursement for drugs under Medicare Part B or Medicaid, (ii) drug pricing, or
(iii) the acquisition costs of Providers for drugs, includng but not limited to the reports included
on the attached Exhibit A.

        11.   For the Subject Drugs and Equivalent Drugs, all Communications concerning the
reporting of AMP in connection with the Medicaid Dmg Rebate Program between and among
Manufacturers, the U.S. Government, any State Medicaid Program, or any DMERC, Medicare
Carrier, or Medicaid Intermediary, as well as Documents sufficient to identify which Persons
within the U.S. Government received AMP information for the Subject Drugs and Equivalent
Drugs.

       12.     From January 1, 1990 to the end of the Relevant Claim Period, all
Communications between CMSIHCFA, HHS, or HHS-OIG and VA, CHAMPUSITricare
Department of Defense, or any 340B Provider concerning the payment, purchase price, or
expendture of VA, CHAMPUSITricare, Department of Defense, or any 340B Provider for the
Subject Drugs.

        13.    From January 1, 1990 to the end of the Relevant Claim Period, copies of all
Federal Supply Schedules listing the Subject Drugs, as well as all documents relating to the
prices the VA, Department of Defense or any 340B Provider paid to obtain the Subject Drugs.

        14.   Documents sufficient to identify the amounts received each year by each state
under the Medicaid Drug Rebate Program for the Subject Dmgs.

        15.   The disclosure statement filed by Ven-A-Care pursuant to 31 U.S.C. 8 3730(b)(2),
as well as Documents sufficient to identify which Persons within the U.S. Government, any State
Medicaid program, NAMFCU, any MFCU, any DMERC, any Medicare Carrier, andlor any
Medicaid Intermediary received either that document or the Ven-A-Care Qui Tam Complaint,
and when and under what circumstances such Persons received those documents.

        16.   All pleadings or other Documents filed under seal in United Stutes ex uel. yen-A-
Cure of the Flouidu Keys, Inc. vs. Roxune Lubouutouies, Inc. et ul., Case No. 00-CV-10698 (D.
Mass.), beginning with the Ven-A-Care Qui Tam Complaint filed on April 10, 2000.

        17.   All Documents concerning any notice of or information about this litigation that
was circulated to any official, department, agency, or employee of the U.S. Government, any
state government, or any member of Congress.

        18.    All Documents sufficient to identify all DMERCs and Medicare Carriers during
the Relevant Claim Period, as well as the time period and geographical areas for which they
served, including their names, addresses, and contact information.
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        19.   Documents sufficient to identify all Medicaid Intermediaries and any other vendor
used by State Medicaid Programs in connection with the payment of drugs, as well as the time
period and geographical areas for which they sewed, including their names, addresses, and
contact information.

        20.     Documents sufficient to identify the corporate structure as well as documents
sufficient to identify the names, titles, andlor job descriptions of employees of all DMERCs,
Medicare Carriers, and Medicare Intermediaries during the period that they acted as DMERCs,
Medicare Carriers. or Medicare Intermediaries.

        21.    From January 1, 1990 to the end of the Relevant Claim Period, all
Communications between any DMERC, Medicare Carrier, or Medicare Intermediary, and any
other DMERC, Medicare Carrier, Medicaid Intermediary, Provider, CMS office or official, or
OIG official concerning AWP, WAC, AMP, Direct price andor List price, or the methodology
to be used in calculating payment for drugs under Medicare Part B.



             DOCUMENTS REQUESTED FROM RELATOR VEN-A-CARE

        22.    All Documents responsive to any Requests for Production of Documents served
by Defendant Abbott Laboratories, Inc. or Defendant Dey, Inc. on Ven-A-Care in the matters of
United Stutes of Anzevicu ex vel. yen-A-Cure of the Flovidu Keys, Inc. v. Ahhott Luhovutovies,
Inc., formerly Civil Action No. 06-CV-21303-ASG (S.D. Fla.), presently part of MDL No. 1456,
Civil Action No. 06-1 1337-PBS (the "DOJ-Abbott Litigation"), and United States ex rel. yen-A-
Care of the Florida Key.s, lnc. v. Dey, lnc. et al., also presently part of MDL No. 1456, Civil
Acton No. 05- 11084-PBS (the "DOJ-Dey Litigation").

        23.    From any time period, all Documents relating to Ven-A-Care's participation in or
contribution to any report, memorandum, audit, study, analysis, or survey (whether completed or
not) concerning (i) the methodologies, policies, and procedures to be used in determining
reimbursement for dmgs under Medicare Part B or Medicaid, (ii) drug pricing, or (iii) the
acquisition costs of Providers for drugs, including but not limited to the reports included on the
attached Exhibit A.

       24.     All Documents concerning:

               (a)    the price Ven-A-Care paid for the Subject Dmgs or the Equivalent Drugs;
               (b)    all claims for payment submitted by Ven-A-Care to Medcare Part B or
                      Medicaid for the Subject Drugs or the Equivalent Drugs;
               (c)    all payments made to Ven-A-Care by Medicare Part B or Medicaid for the
                      Subject Drugs or the Equivalent Drugs;
               (d)    any repayments made by Ven-A-Care to Medicare Part B or Medicaid
                      relating to the Subject Drugs or the Equivalent Dmgs; and
               (e)    all contracts or agreements between Roxane and Ven-A-Care for the
                      Subject Drugs.
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        25.     Documents sufficient to show Ven-A-Care's costs in providing services of any
type to Medicare or Medicaid beneficiaries, including the extent to which payment for drugs was
used to offset that cost.

       26.    All pleadings or other Documents filed under seal in United States ex rel. yen-A-
Care of the Florida Keys, Inc. vs. Roxane Laboratories, Inc. et al., Case No. 00-CV-10698 (D.
Mass.), beginning with the Ven-A-Care Qui Tam Complaint filed on April 10, 2000.

        27.     From any time period, all disclosure statements filed by Ven-A-Care in any state
or federal qui tam action relating to reimbursement of drugs under Medicare Part B or Medcaid.



Dated: November 7, 2007

                                                 Respectfully submitted,


                                                     IS/ Eric T. Gortner
                                                 Helen E. Witt, P.C.
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                                                 Jared T. Heck
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                                                 Facsimile: (6 17) 720-5092

                                                On behalfof Defenu'unts Boehringer Ingelheivrz
                                                Corp., Boehringer Ingelheinz Pharn~aceutical~s,
                                                Inc., Boehringer Ingelheinz Roxane, Inc., and
                                                Roxane Laboratories. Inc.
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                                   CERTIFICATE OF SERVICE

                  I certify that a true and correct copy of the foregoing was delivered to all counsel

of record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by

sending on November 7, 2007, a copy to LexisNexis File and Serve for posting and notification

to all parties.

                                                             IS/ Eric T. Gortner
                                                              Eric T. Gortner
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                     Exhibit A
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         SELECTGOVERNMENT
                        REPORTS
                              AND STUDIES

 Taslt Force on Prescription Drugs, the Office of Secretary, United States Department of
 Health, Education and Welfare The Drug Malters and the Drug Distributor (Dec. 1968)
                                -




 Taslt Force on Prescription Drugs, the Office of Secretary, United States Department of
 Health, Education and Welfare Final Report (Feb. 1969)
                                -




 GAO-RPT, "Programs to Control Prescription Drug Costs Under Medicaid and Medicare
 Could Be Strengthened" (GAOIHRD-81-36, Dec. 3 1, 1980)

 HHS-OIG, "Title XIX of the Social Security Act, Limitation on Payment or
 Reimbursement for Drugs" (Sep. 1, 1984)

 HCFA (Region IX), "EAC Survey Report, Hawaii Medicaid Program, EAC Patrol
 Initiative" (1986)

 HHS-OIG, "Changes to the Maximum Allowable Cost Medicaid Drug Limit Could Save
 Millions (CAN 08-60203, Aug. 15, 1986)

 GAO-RPT, "Medicare Prescription Drug Issues" (GAOIPEMD-87-20, Jul. 16, 19 87)

 Majority Staff Report, Special Committee of Aging, United States Senate - "Prescription
 Drug Prices: Are We Getting Our Money's Worth?" (S. Rep. 101-49, 1989)

 HHS-OIG, "Use of Average Wholesale Price in Reimbursing Pharmacies Participating in
 Medicaid and the Medicare Prescription Drug Program" (A-06-89-0037, Oct. 1989)

 HHS-OIG, "Strategies to Reduce Medicaid Drug Expenditures" (Draft Report) (OEI-12-
 90-00800, Sep. 6, 1990)

 HHS-OIG, "Strategies to Reduce Medicaid Drug Expenditure" (OEI-12-90-00800, Mar.
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